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             November 02, 2022




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           Report of Proceedings
             November 02, 2022




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             November 02, 2022




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           Report of Proceedings
             November 02, 2022




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                                                  YVer1f
           Report of Proceedings
             November 02, 2022




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                                                  YVer1f
           Report of Proceedings
             November 02, 2022




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                                                  YVer1f
           Report of Proceedings
             November 02, 2022




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                                                  YVer1f
           Report of Proceedings
             November 02, 2022




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                                                   YVer1f
           Report of Proceedings
             November 02, 2022




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                                                   YVer1f
           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   12
                                                   YVer1f
           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   13
                                                   YVer1f
           Report of Proceedings
             November 02, 2022




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                                                   YVer1f
           Report of Proceedings
             November 02, 2022




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           Report of Proceedings
             November 02, 2022




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           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   17
           Report of Proceedings
             November 02, 2022




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           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   19
           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   20
           Report of Proceedings
             November 02, 2022




U.S. Legal Support | www.uslegalsupport.com   21
                      Report of Proceedings
                        November 02, 2022
                argued            3:11            class
       1         12:14           box               3:22 14:17,
                arguing           13:19            20
1066600          5:19 6:9        breach           clauses
 6:3            argument          7:1              11:10
15(b)            14:5            briefs           clear
 12:3,17        around            13:2             8:17
                 5:6             build            click
                Associates        13:18            13:22
       2
                 6:2             built            client
2022            assume            15:20            12:20
 6:2             7:20            Butcher          close
                assuming          3:8,9,24         11:10
                 10:18                            collect
       A        attached                           14:20,21
                                        C
able             11:10                            collected
 4:3            automatically    California        5:12 7:5
absurd           13:16            9:3,4           collecting
 5:2 6:6                         calling           5:17 7:7
 12:16 14:8                       5:4              11:2
                       B
 15:15                           camera           collection
absurdity       bad               13:14,23         10:16,17
 15:12           4:19            case             collections
act             basis             3:22 5:15,24     10:15,21
 9:11            3:22             6:4,11,19       collects
action          Beelman           8:23 11:21,      10:23
 7:2 12:15       3:9,16,18,23     24 12:9,13,     come
actions          10:4 13:22       14,19            15:16,21
 11:6            14:12 15:1      cases            comes
adjudicates     behalf            4:24 5:2         3:14
 7:2             3:4,7,9,11      certainly        companies
advanced         4:18             11:23 13:3       7:7 14:10,
 4:2            believe           15:18            11,14
affirmative      6:1             certify          company
 13:17          better            13:20,23         3:16 10:4
                 6:8              15:7,21         compliance
agree
 4:4 6:16       biometric        charging          12:21
                 5:17 6:15        10:13           compliant
allege
 10:19           10:16,18,23     chime             11:2
                biometrics        11:19           complied
Andy
 3:9             5:11            cite              5:9 6:12,19
                BIPA              4:24            comply
apply
 6:6 12:17       12:3,4,15,20    cited             4:12 6:18
 13:7 14:24      13:6,7,8,9       6:1,3            11:14 12:2,
                 14:3,20         cites             15,20 13:11
approach
 7:17 8:1,4     Block             6:23            conclusion
                                                   15:14


           U.S. Legal Support | www.uslegalsupport.com           ·1
                     Report of Proceedings
                       November 02, 2022
consent          10:3,10,12     deploy           employee
 4:18,21,22      11:5,12,18,     9:16             4:14 7:24
 5:12,18,21      21,24 12:16    describes         8:1 9:14
 6:16 7:5,12,    15:11           4:17            employees
 15,19 8:2,9,   courts          describing        7:18 9:6,8
 10,13,14,18     12:8,11 14:2    5:3 15:13       employees'
 9:6,13,15,     covered         detailed          6:16
 16,20,21,24     14:19           13:1            employers
 10:2,4,5,13,   critical        device            4:18
 23,24 11:3,5    13:12           6:15            enabled
 12:4,6 13:4,   curious                           13:15
                                different
 5,9 14:21,22    8:23
 15:6,24                         10:15,21        end
                customer        disclosure        3:22
consents         4:22 5:22       13:8            ensure
 9:10 11:17      8:8 9:13,16
 13:22 14:7                     discovery         8:9,17,21
                 10:17 11:1,3    5:23 8:11       ensured
 15:15,21        12:5,23         15:19            9:19
context          13:4,13,16,
 4:1                            dismiss          ensuring
                 19 15:24        3:20             8:14
contract        customers
 4:21 5:1,8,9                   Doctor's         entities
                 6:24 8:14       6:2              7:7
 6:17,23 9:23    10:2 13:6,10
 11:9,12                        double           entity
                 14:6 15:5       10:6,8           10:1,22
 12:24 13:3
contractual                     driver           evening
 6:12,14 7:9          D          15:6             4:3
contrary                        drivers          event
                daily            9:21 14:15,      5:22
 12:18
                 15:2,3          16 15:5         exactly
control
                data            duty              7:22 11:10,
 4:14
                 5:17 7:8        5:21 6:22        24
conversation     10:17,18,19
 15:2,4                          7:10,14
                 11:2 14:21      15:23
copies          David                                   F
 14:7            3:4
correct                                  E       fair
                deciding                          4:7
 11:8,23         6:9
counsel                         East             falls
                decision         14:13            15:23
 11:18 12:13     12:12
 14:1,23                        easy             federal
                Defendant        7:13             5:1 6:5,8
Counsel's        3:4,11,18
 14:5                           effect            11:24 12:8
                defendants       11:13            14:2
court            3:15
 3:1,5,13                       Elena            fifth
                definition       3:10             15:7
 4:1,5,23
                 15:11          employ           Figueroa
 5:2,24 6:5,
 8,9 7:16       definitions      14:16            12:8,12
 8:5,7,19 9:4    14:18



          U.S. Legal Support | www.uslegalsupport.com           ·2
                     Report of Proceedings
                       November 02, 2022
finalize        Herd             3:11
 3:21            12:9           Judge                   M
finally         hire             11:20
 4:3             15:5                            made
fine            Hold                     K         5:8
 3:13            4:23 5:24                       mail
fingerprint     Honor           know               8:7
 7:4             3:3,6,8,17,     4:22 5:20       make
found            24 4:16 5:10    6:24 7:2,11       5:7 12:22
 11:24 14:3      6:20 9:12       8:12 9:1,7,       13:16
fourth           10:9,16         13 15:21        manufacturer
 15:7            11:22,23       knowing            3:15 4:6,11
frankly          12:11 13:1,     5:14              5:15
 6:7 14:8        13,24 14:9                      manufacturer'
free            hourly                           s
                 15:2,4                  L
 15:22                                             4:8
                                late             manufacturers
      G                  I       4:3               5:6 6:7
                                Layden           matter
gave            ID               3:3,4 9:2         8:11 15:18
 13:10           13:14,23        11:20,22        mean
getting         Illinois        liability          7:15,20 9:8
 5:20 7:5        9:5 14:13,      10:14             10:12 15:16
 8:10 14:7       15,16,18       liable           mentioned
given           impractical      4:11 7:4          11:9
 5:13 7:15       14:8            11:4,6          missed
 13:21          Inaudible       line               10:11 11:21
giving           8:5 10:10       6:21            moots
 7:5 8:14       incident        LLC                3:20
going            10:7            6:2             morning
 3:20 10:19     inclination     located            3:3,6,8
Good             4:10            9:1 14:12,14    motion
 3:3,6,8        indemnity       logic              3:14,20 4:8,
great            7:2 11:10       14:24             17
 7:10           individual      look
guess            5:11            14:17                  N
 4:9            information     looking
                 13:7            6:1             name
                interesting     lots              5:3
      H          12:10           14:13           necessary
happening       interstate      Louis             13:21
 9:22 15:1       14:10           14:13           need
headquartered                                     8:3
 9:2                     J                       needs
held                                              8:9,17
 4:11           Jenner


          U.S. Legal Support | www.uslegalsupport.com         ·3
                     Report of Proceedings
                       November 02, 2022
never            6:14            11:14           relationship
 5:12           part            program           7:12,23
note             5:1,7,8         8:13            relative
 12:8           parties         protected         11:14
notice           5:16            7:1             required
 4:2 12:4,5     party           provide           14:2,3
 13:21           5:14            3:24 12:5       requirement
notices         pays            provided          5:7
 11:16           7:3             4:1 9:19        requires
notified        people           12:2 13:6        9:11 12:20
 7:6             7:17 10:13     provider          13:4
                permission       12:17,20,21     requiring
      O          7:22            14:4             12:5
                person          providing        residents
obligations      4:13 5:13       11:16            14:16,19
 12:3            8:4            provision        right
observing       persons          7:10 12:4        7:21 11:15
 3:12            7:4            put              Ronquillo
obtain          physically       13:2             6:2 11:24
 6:16 8:21,22    7:24 8:4
 13:4           plaintiff              Q                S
obtained         3:7,18 4:9
 13:21           9:20 15:16     question         sample
obtaining       plaintiff's      5:22             13:8,9
 9:10 11:17      12:13 14:1,                     Samsara
occurred         17                               3:4,11,15
                                       R
 4:2            please                            4:17 5:14,
offload          15:6           rate              19,23 6:23
 7:10,14        pops             9:7              7:1,11,16
 15:23           13:19          reach             8:9,16 9:1,
offloading      position         12:11 15:14      2,14 10:1,5
 5:21 6:22       5:10 6:20                        11:1,9 12:2
                                reached
okay             14:17                            13:2,5,18,24
                                 3:19
 4:5,6 9:4      possession                        14:5 15:3,22
                                read
Olivieri         5:16                            saying
                                 4:8 8:23
 3:10           precondition                      6:5 8:3 9:18
                                reason            11:7 12:19
one              6:13,14         12:11
 4:23 5:1,5     premises                          14:23
                                received         says
 6:7 10:12,24    7:17            8:18
 14:18 15:2,4   present                           4:21,24 6:11
                                record            8:20,22 9:24
operate          3:1             9:20
 13:23          principal                         11:1,12,13
                                recovery          13:19
                 3:19            10:6,8
                private                          Schuyler
      P                         refer             3:7
                 7:7 10:22       6:5
                product                          second
paraphrasing                                      13:11


          U.S. Legal Support | www.uslegalsupport.com           ·4
                     Report of Proceedings
                       November 02, 2022
Section         step            throwing         understand
 12:3,17         13:11,12,17     15:12            8:19
see             steps           time
 15:19           13:5 14:1       9:10 15:7              V
seek            successful      timekeeping
 7:9             8:13            6:15            vendor
send            sufficient      today             10:18,20
 9:5 14:15       12:23           15:6             15:22
sense           suggestion      tools            versus
 4:12            5:5 14:9        13:11            6:2
separate        supposed        trespass         violation
 11:6            4:11,12,15      7:20             14:20
settlement       9:5            trial
 3:19,21        sure             5:2                    W
ship             4:16 6:7       truck
 13:15           7:14 12:22      3:9,16          want
show            system          trucking          4:10 11:19
 9:13 12:16      4:16 15:19      14:9,10,14      way
shown                           trying            4:19 5:13
 9:22,23 10:1         T          12:15            6:24 7:10
sign                            turn              15:20
 8:1 11:5       take             13:17,20        ways
signed           14:24           15:9             5:5
 11:3 15:6      talk            turned           weeks
single           4:10            13:13,14         9:9
 14:18          talking         turning          went
Sir              14:6            9:8              13:5
 3:2            technology      turnover         WL
site             12:1,17,19,     9:7              6:3
 12:22           21 13:18       two              word
situation        14:4 15:10      3:14 10:13,      5:2 15:12
 11:11          terms            15,21 11:6      words
specifically     4:4             12:7 13:5        11:13 13:24
 13:6           Thank            14:1            work
St               3:5 11:20      type              3:21 13:15
 14:13          thing            11:11           written
start            12:7                             6:16 7:19
 3:18           think                  U          8:2 9:6,10
state            3:19 5:19                        10:23 12:6
 8:24            6:6 9:11       Ufkes             13:8 15:15
statute          11:13 14:5,8    3:6,7,17
 4:13 6:6,18,   third            4:16 5:10
 21 8:20         5:14,15         6:20 8:3,6,8
 10:22           13:12 15:7      9:12 10:8,
statutes        three            11,15 11:8,
 11:14           14:2            16 15:18



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